           Case 1:19-cv-07389-GHW Document 65 Filed 07/15/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DENNIS SWEENEY,

                  Plaintiff,

          v.
                                                  Case No. 1:19-CV-07389 (GHW)
 BDO USA, LLP and JANET BERNIER, in
 her individual and professional capacities,


                  Defendants.


                                      STIPULATION OF
                                 DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel for Plaintiff



                                                  -captioned action is voluntarily dismissed with

prejudice, pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(ii), with each party bearing its own fees and

costs.

Dated: July 15, 2020
       New York, New York

 WIGDOR LLP                                        McDERMOTT WILL & EMERY LLP


 By:                                               By:
       David E. Gottlieb                                 Lindsay F. Ditlow
       Tanvir H. Rahman                                  340 Madison Avenue
       85 Fifth Avenue                                   New York, NY 10173
       New York, NY 10003                                (212) 547- 5400
       (212) 257-6800
       Attorneys for Plaintiff                           Attorneys for Defendants
